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                      UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


UNITED STATES OF AMERICA,                   Case No. 18-mc-51358

              Plaintiff,                    Honorable Bernard A. Friedman

v.
                                            DEFENDANTS’ RESPONSE TO
                                            MOTION TO FILE AMICUS
                                            BRIEF AND MOTION TO
                                            STRIKE
JUMANA NAGARWALA, D-1
FAKHRUDDIN ATTAR, D-2,
FARIDA ATTAR, D-3,
TAHERA SHAFIQ, D-4,
FARIDA ARIF, D-5
FATEMA DAHODWALA, D-6
HASEENA HALFAL, D-7, and
ZAINAB HARIYANAWALA, D-8

          Defendants.
________________________________________/

        The above-captioned Defendants, by and through their respective

Counsel, respectfully request that this Court enter an order denying the

AHA Foundation (hereinafter “AHA”) permission to file an amicus brief

and strike the pleadings already filed for the reasons stated in

Defendants’ Brief below. Concurrence was sought regarding the request




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herein, however, the government and counsel for the moving party, the

AHA, do not agree.

                                   Respectfully submitted,

Dated: 10/9/2018                   /s/ Shannon M. Smith
                                   SHANNON M. SMITH
                                   Attorney for Jumana Nagarwala

Dated: 10/9/2018                   /s/ Mary Chartier
                                   MARY CHARTIER
                                   Attorney for Fakhruddin Attar

Dated: 10/9/2018                   /s/ Matthew Newburg
                                   MATTHEW NEWBURG
                                   Attorney for Farida Attar

Dated: 10/9/2018                   /s/ Jerome Sabbota
                                   JEROME SABBOTA
                                   Attorney for Tahera Shafiq

Dated: 10/9/2018                   /s/ Anjali Prasad
                                   ANJALI PRASAD
                                   Attorney for Farida Arif

Dated: 10/9/2018                   /s/ Brian M. Legghio
                                   BRIAN M. LEGGHIO
                                   Attorney for Fatema Dahodwala

Dated: 10/9/2018                   /s/ Lisa L. Dwyer
                                   LISA L. DWYER
                                   Attorney for Haseena Halfal

Dated: 10/9/2018                   /s/ Patricia A. Maceroni
                                   PATRICIA A. MACERONI
                                   Attorney for Zainab Hariyanawala

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                      UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


UNITED STATES OF AMERICA,                   Case No. 18-mc-51358

              Plaintiff,                    Honorable Bernard A. Friedman

v.                                          BRIEF IN SUPPORT OF
                                            DEFENDANTS’ RESPONSE TO
                                            MOTION TO FILE AMICUS
                                            BRIEF AND MOTION TO
                                            STRIKE
JUMANA NAGARWALA, D-1
FAKHRUDDIN ATTAR, D-2,
FARIDA ATTAR, D-3,
TAHERA SHAFIQ, D-4,
FARIDA ARIF, D-5
FATEMA DAHODWALA, D-6
HASEENA HALFAL, D-7, and
ZAINAB HARIYANAWALA, D-8

          Defendants.
________________________________________/

                       BACKGROUND INFORMATION

        The above-captioned Defendants are charged by a Third

Superseding Indictment in Case Number 17-cr-20274, pending before

this Honorable Court. (Doc. 334.) The Defendants are charged with

various counts of Female Genital Mutilation, contrary to 18 U.S.C. §§

116 and 2, and Conspiracy to Commit Female Genital Mutilation,

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contrary to 18 U.S.C. § 371. Defendants filed a Motion to Dismiss

Counts 1 through 5 of the Indictment, and with the Court’s permission,

filed a lengthy Brief arguing that Congress exceeded its constitutional

authority in the passage of18 U.S.C. § 116 (at the time only the Second

Superseding Indictment had been filed). (Doc. 307.) On September 17,

2018, the government filed a lengthy response, which included a 55-

page brief accompanied by 21 exhibits, totaling 290 pages. The lead

author of the government’s brief is an attorney at the Department of

Justice in Washington, D.C., who specializes in human rights and

special prosecutions. (Doc. 336.)

     The same day the government filed its response, the AHA,

through its attorneys, sought concurrence from the above-captioned

Defendants to file an amicus brief. On September 24, 2018, the AHA

filed a motion to file an amicus brief to support the government and

filed a proposed 26-page amicus brief. According to its pleadings, the

AHA is a ten-year-old interest group “that promotes the rights of

women and girls here and abroad.” (Doc. 2 at 2.) For the reasons cited

below, Defendants request this court to deny the motion of AHA and

strike the current proposed amicus brief that has been filed.

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                                       ARGUMENT

       A.      The Rules of Criminal Procedure and Local Court Rules do
               not anticipate the filing of amicus briefs at this stage of
               litigation.

       Neither the Rules of Criminal Procedure nor this District’s Local

Rules allow for the filing of an amicus brief at this stage in District

Court. Federal Rule of Appellate Procedure 29 governs the filing of

amicus briefs on appeal. Defendants suggest it provides appropriate

guidance for the Court.

       F.R.A.P. 29 provides that other than the government or a state,

“[a]ny other amicus curiae may file a brief only by leave of court.”

F.R.A.P. 29(2). A motion for leave to file an amicus brief must be

accompanied by the proposed brief and state the movant's interest and

“the reason why an amicus brief is desirable and why the matters

asserted are relevant to the disposition of the case.” F.R.A.P. 29(3).1

       The purpose of an amicus brief is to assist the Court and to

provide unique information or perspective beyond that which the

lawyers for the parties are able to provide. In Ryan v. Commodity


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  The length of the brief may be no more than one half the maximum authorized for a
party’s principal brief, and if a court grants a party permission to file a longer brief, that
extension does not extend the length of an amicus brief. F.R.A.P. 29(5).

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Futures Trading Commission, 125 F. 3d 1062, 1062-1063 (7th Cir.

1997), in an opinion by Judge Posner in chambers, the Court declined

the request of the Commission to file an amicus brief, because the

proposed brief simply echoed arguments already made by the

Petitioner:

     The tendency of many judges of this court, including myself,
     has been to grant motions for leave to file amicus curiae
     briefs without careful consideration of “the reasons why a
     brief of an amicus curiae is desirable,” although the rule
     makes this a required part of the motion. After 16 years of
     reading amicus curiae briefs the vast majority of which have
     not assisted the judges, I have decided that it would be good
     to scrutinize these motions in a more careful, indeed a fish-
     eyed, fashion.

     The vast majority of amicus curiae briefs are filed by allies of
     litigants and duplicate the arguments made in the litigants'
     briefs, in effect merely extending the length of the litigant's
     brief. Such amicus briefs should not be allowed. They are
     an abuse. The term "amicus curiae" means friend of the
     court, not friend of a party. United States v. Michigan, 940
     F.2d 143, 164-65 (6th Cir.1991). We are beyond the original
     meaning now; an adversary role of an amicus curiae has
     become accepted. Id. at 165. But there are, or at least there
     should be, limits. Cf. New England Patriots Football Club,
     Inc. v. University of Colorado, 592 F.2d 1196, 1198 n. 3 (1st
     Cir.1979). An amicus brief should normally be allowed when
     a party is not represented competently or is not represented
     at all, when the amicus has an interest in some other case
     that may be affected by the decision in the present case
     (though not enough affected to entitle the amicus to
     intervene and become a party in the present case), or when

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     the amicus has unique information or perspective that can
     help the court beyond the help that the lawyers for the
     parties are able to provide. See, e.g., Miller-Wohl Co. v.
     Commissioner of Labor & Industry, 694 F.2d 203 (9th
     Cir.1982) (per curiam). Otherwise, leave to file an amicus
     curiae brief should be denied.
                                  ***
     We are not helped by an amicus curiae's expression of a
     “strongly held view” about the weight of the evidence, see
     New England Patriots Football Club, Inc. v. University of
     Colorado, supra, 592 F.2d at 1198 n. 3, but by being pointed
     to considerations germane to our decision of the appeal that
     the parties for one reason or another have not brought to our
     attention. The amicus briefs filed in this court rarely do
     that; and this amicus brief is not one of the rare exceptions.
     (Citations omitted.)(Emphasis added.)

     See also, National Organization for Women v. Scheidler, 223 F. 3d

615, 617 (7th Cir. 2000) (“Amicus curiae briefs are often attempts to

inject interest-group politics into the federal appellate process by

flaunting the interest of a trade association or other interest group in

the outcome of the appeal.”); Voices for Choices v. Illinois Bell, 339 F.3d

542 (7th Cir. 2003); In Re Halo Wireless, Inc., 684 F.3d 581, 596 (5th

Cir. 2012).

     The proposed amicus brief of the AHA does not provide a unique

perspective or arguments to the Court which are not already advanced

by the government in its extensive filing. The first several pages of the



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AHA brief are devoted to policy and not legal arguments, which are not

at issue in the motion. The remaining ten pages merely restate

arguments already made by the government in its extensive filing. The

government brief, authored in part by a Department of Justice

specialist, covers the issues in great detail. While the AHA may have

strong opinions on public policy regarding the subject, the proposed

brief does not provide anything unique not already presented by the

parties which would aid the Court in deciding the constitutional issues.

     B.    The AHA does not have access to the discovery
           in this matter and relies on irrelevant information to the
           case to advance its agenda.

     On June 2, 2017, the Court entered a protective order regarding

discovery and related materials. (Doc. 48.) The protective order requires

the parties to treat discovery materials as confidential. As such, when

pre-trial motions have referenced details from discovery in this matter,

the defense and the prosecution have typically filed motions and

responses under seal. Upon information and belief, the AHA is not privy

to discovery materials, nor would it have the ability to learn about

nuanced circumstances of the case from public pleadings. As such,



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much of the information the AHA relies on has absolutely no value or

relevance to this instant case.

     The AHA’s own brief recognizes the fact that female genital

cutting issues are “manifold” and that communities around the world

perform genital cutting for a variety of reasons. (Doc. 2 at 3.) The brief

is clearly based on information that is not specific to the Dawoodi

Bohra, as evidenced by the map of Africa included in the brief. (Id. at 4.)

Much of the “research” and the web sites relied upon by the AHA

likewise have nothing to do with this case and are not studies regarding

Dawoodi Bohra. The AHA simply relies on the biased narratives of

advocacy groups, emotional diatribes of people who have no relevant

information to this instant case, and statistics from other parts of the

world that do little to advance or explain the legal issues in this case.

     Further, the “facts” upon which the AHA relies on to support its

argument about interstate commerce are not based on information or

facts that apply to the Dawoodi Bohra, nor are they facts that were

before Congress when enacting the statute, which is what is actually at

issue here. For example, the AHA makes asserts that the purpose of

any procedure is to increase the “bride price” for marriage. (Doc. 2 at 9.)

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This “fact” has absolutely no relevance to the case and the government

does not even make such an allegation against Defendants.

     While the amicus brief would have the Court believe it relies on

allegations from the Third Superseding Indictment, the AHA misstates

even the simplest of facts. For example, when the AHA statement that

“the majority of victims were spirited across state lines— specifically,

from Minnesota and Illinois to Michigan—to be cut by Defendants…” is

not only irrelevant to the issue at hand, it is simply untrue and not even

alleged by the government. (Doc. 2 at 10.) Further, the information

that genital cutting is a “pre-condition for marriage because circumcised

girls are more marriageable and attract better bride prices…” is not

only completely inapplicable to the question presented by Defendants’

Motion, but the AHA’s discussion regarding examples of dowries in

Kenya is again irrelevant to the question presented here. (Id. at 13.)

     Finally, based upon discovery received under protective order, it

appears that two individuals with close connections to the AHA were

cooperating witnesses for the government during the investigation of

this instant case. Those individuals have also made public statements

regarding this case and remain potential government trial witnesses.

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        It is not the function of an amicus brief to serve as a megaphone

for individuals who want to be involved in the case, whether as

cooperating witnesses or as members of the public closely following a

case for personal reasons. Amici curiae are friends of the Court, not

friends of the government. Allowing the filing of an amicus brief such

as this provides an opportunity for publicity, regardless whether the

individual’s opinions are based on the facts of the case.2 Clearly, in this

instant case, these individuals have an agenda that has nothing to do

with the actual facts of the case. As likely was the intervening group’s

intent, publicity and news coverage has already resulted from the

AHA’s filings. Such publicity is beyond the ability of the Court to

control. Consequently, this publicity will likely poison the pool of

potential jurors who may rely on the inaccurate, baseless information

submitted by the movant.

        For all the above reasons, Defendants request that the Court deny

the motion to file an amicus brief and order it stricken.




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  There has already been news coverage of the filing of amicus briefs. See, e.g.
https://www.detroitnews.com/story/news/local/detroit-city/2018/09/25/brides-who-
undergo-genital-mutilation-fetch-higher-price-group-claims/1420141002/

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                                   Respectfully submitted,

Dated: 10/9/2018                   /s/ Shannon M. Smith
                                   SHANNON M. SMITH
                                   Attorney for Jumana Nagarwala

Dated: 10/9/2018                   /s/ Mary Chartier
                                   MARY CHARTIER
                                   Attorney for Fakhruddin Attar

Dated: 10/9/2018                   /s/ Matthew Newburg
                                   MATTHEW NEWBURG
                                   Attorney for Farida Attar

Dated: 10/9/2018                   /s/ Jerome Sabbota
                                   JEROME SABBOTA
                                   Attorney for Tahera Shafiq

Dated: 10/9/2018                   /s/ Anjali Prasad
                                   ANJALI PRASAD
                                   Attorney for Farida Arif

Dated: 10/9/2018                   /s/ Brian M. Legghio
                                   BRIAN M. LEGGHIO
                                   Attorney for Fatema Dahodwala

Dated: 10/9/2018                   /s/ Lisa L. Dwyer
                                   LISA L. DWYER
                                   Attorney for Haseena Halfal

Dated: 10/9/2018                   /s/ Patricia A. Maceroni
                                   PATRICIA A. MACERONI
                                   Attorney for Zainab Hariyanawala




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                      CERTIFICATE OF SERVICE

     I hereby certify that on 9th day of October 2018, I electronically

filed the foregoing document with the Clerk of the Court using the

ECF system which will send notification to parties enrolled through the

ECF system. A hard copy has been mailed via the United States Postal

Service to those who are not enrolled.

                                   /s/ Shannon M. Smith
                                   SHANNON M. SMITH
                                   Attorney for Defendant Jumana Nagarwala
                                   Smith Blythe, PC
                                   1668 South Telegraph Road
                                   Suite 140
                                   Bloomfield Hills, Michigan 48302
                                   (248) 636-2595
                                   attorneyshannon@gmail.com




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